                                 UNITED STATES BANKRUPTCY COURT
                                       DISTRICT OF NEW MEXICO
                                              Clerk's Minutes
                                    MINUTES FOR FINAL MATTERS
                                  Before the Honorable Robert H. Jacobvitz


__Chris Wilson, Courtroom Deputy
_x_Anna Grilley, Law Clerk


_x_ I certify that an electronic sound
recording of this proceeding was made.

FTR Recorded Proceeding_x__
Time Commenced: _10:08__


                                                    03/27/2019 09:00 am
TESTIMONY __
EXHIBITS                                                                         __

MATTER/CASE NAME/NUMBER:

 Kathryn Ramona Esquibel, Case No. 17-10498-j7
FH: Objection to Claim of Martin Lopez (Doc. #30 and 33)

Yvette J. Gonzales , Chapter 7 Trustee v. John Sexton and David Alton Kelly
Trial

APPEARANCES:
Yvette J. Gonzales , Chapter 7 Trustee: Ed Mazel
John Sexton: pro se
David Alton Kelly: pro se
Mike Daniels: Martin Lopez, III
Debtor: Wesley O Pool


SUMMARY:

The parties conducted settlement discussions and reached a binding settlement, subject to Court
approval.




Case 17-10498-j7          Doc 119        Filed 03/28/19       Entered 03/28/19 11:47:14 Page 1 of 1
